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                            EXHIBIT 2
            Case 4:20-cv-00957-SDJ Document 557-3 Filed 07/12/24 Page 2 of 10 PageID #: 19004


Ethan Glenn

From:                                                                                                                                                              Patchen, Kate <KPatchen@cov.com>
Sent:                                                                                                                                                              Thursday, April 18, 2024 7:26 PM
To:                                                                                                                                                                Zeke DeRose III; Chow, Kyle W; Marc B. Collier; Pearl, David; Bitton, Daniel S.;
                                                                                                                                                                   MCCALLUM, Robert; Justus, Bradley; avissichelli@axinn.com
Cc:                                                                                                                                                                Alex J. Brown; Jonathan Wilkerson; Lee, Anne; Larkin, Brigid; Geraldine W. Young; Gabriel
                                                                                                                                                                   Culver; Ethan Glenn; nmoorthy@axinn.com
Subject:                                                                                                                                                           RE: Subpoena issued to Meta Platforms, Inc.


Hi Zeke,

We have additional information about the documents that would be included in the production, and we do not consent
to Google’s production of the non-relevant portions of the DOJ file. As we mentioned on our call, we will meet and
confer with you tomorrow on what we think would be an appropriate and reasonable limitation in the scope.

We look forward to discussing and resolving this as quickly as possible.

Best,
Kate


Kate Patchen
Covington & Burling LLP
Salesforce Tower, 415 Mission Street, Suite 5400
San Francisco, CA 94105-2533
T +1 415 591 6031 | kpatchen@cov.com
www.cov.com

      The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




From: Zeke DeRose III <Zeke.DeRose@LanierLawFirm.com>
Sent: Thursday, April 18, 2024 4:54 PM
To: Chow, Kyle W <KChow@cov.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; Patchen, Kate
<KPatchen@cov.com>; Pearl, David <dpearl@axinn.com>; Bitton, Daniel S. <dbitton@axinn.com>; MCCALLUM, Robert
<rob.mccallum@freshfields.com>; Justus, Bradley <bjustus@axinn.com>; avissichelli@axinn.com
Cc: Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>;
Lee, Anne <alee@cov.com>; Larkin, Brigid <BLarkin@cov.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>; Gabriel Culver <gabriel.culver@nortonrosefulbright.com>; Ethan Glenn
<ethan.glenn@nortonrosefulbright.com>; nmoorthy@axinn.com
Subject: Re: Subpoena issued to Meta Platforms, Inc.

[EXTERNAL]
Kyle and Kate,

I have included counsel for Google in our EDTX case. In order to expedite the process and reduce the
burden on third-party Meta, can you confirm that Meta consents to Google producing the
documents referenced in your letter to the State of Texas?

Thank you,

                                                                                                                                                                                             1
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Zeke

From: "Chow, Kyle W" <KChow@cov.com>
Date: Wednesday, April 17, 2024 at 4:43 PM
To: "Marc B. Collier" <marc.collier@nortonrosefulbright.com>, Zeke DeRose III
<Zeke.DeRose@LanierLawFirm.com>, "Patchen, Kate" <KPatchen@cov.com>
Cc: "Alex J. Brown" <Alex.Brown@LanierLawFirm.com>, Jonathan Wilkerson
<Jonathan.Wilkerson@LanierLawFirm.com>, "Lee, Anne" <alee@cov.com>, "Larkin, Brigid"
<BLarkin@cov.com>, "Geraldine W. Young" <geraldine.young@nortonrosefulbright.com>, Gabriel Culver
<gabriel.culver@nortonrosefulbright.com>, Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Subject: RE: Subpoena issued to Meta Platforms, Inc.

Hi Marc,

Please see the attached correspondence on behalf of Meta.

Best,
Kyle

From: Marc B. Collier <marc.collier@nortonrosefulbright.com>
Sent: Tuesday, April 16, 2024 4:02 PM
To: Chow, Kyle W <KChow@cov.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Patchen, Kate
<KPatchen@cov.com>
Cc: Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>;
Lee, Anne <alee@cov.com>; Larkin, Brigid <BLarkin@cov.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>; Gabriel Culver <gabriel.culver@nortonrosefulbright.com>; Ethan Glenn
<ethan.glenn@nortonrosefulbright.com>
Subject: Re: Subpoena issued to Meta Platforms, Inc.

[EXTERNAL]
That time works. Thank you, Marc

Get Outlook for iOS

From: Chow, Kyle W <KChow@cov.com>
Sent: Tuesday, April 16, 2024 2:54:55 PM
To: Marc B. Collier <marc.collier@nortonrosefulbright.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>;
Patchen, Kate <KPatchen@cov.com>
Cc: Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>;
Lee, Anne <alee@cov.com>; Larkin, Brigid <BLarkin@cov.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>; Gabriel Culver <gabriel.culver@nortonrosefulbright.com>; Ethan Glenn
<ethan.glenn@nortonrosefulbright.com>
Subject: RE: Subpoena issued to Meta Platforms, Inc.

Hi Marc,

For Thursday, we're also available any time after 3:30 pm PT (5:30 pm CT), if that works better.

-Kyle

From: Chow, Kyle W
Sent: Monday, April 15, 2024 10:07 PM
                                                       2
        Case 4:20-cv-00957-SDJ Document 557-3 Filed 07/12/24 Page 4 of 10 PageID #: 19006
To: 'Marc B. Collier' <marc.collier@nortonrosefulbright.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>;
Patchen, Kate <KPatchen@cov.com>
Cc: Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>;
Lee, Anne <alee@cov.com>; Larkin, Brigid <BLarkin@cov.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>; Gabriel Culver <gabriel.culver@nortonrosefulbright.com>; Ethan Glenn
<ethan.glenn@nortonrosefulbright.com>
Subject: RE: Subpoena issued to Meta Platforms, Inc.

Marc,

Meta will provide a written response on Wednesday April 17. We aren't available at 9 am ET on Thursday, but
we are available from 10 to 12 pm ET.

-Kyle


From: Marc B. Collier <marc.collier@nortonrosefulbright.com>
Sent: Monday, April 15, 2024 7:39 PM
To: Chow, Kyle W <KChow@cov.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Patchen, Kate
<KPatchen@cov.com>
Cc: Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>;
Lee, Anne <alee@cov.com>; Larkin, Brigid <BLarkin@cov.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>; Gabriel Culver <gabriel.culver@nortonrosefulbright.com>; Ethan Glenn
<ethan.glenn@nortonrosefulbright.com>
Subject: Re: Subpoena issued to Meta Platforms, Inc.

[EXTERNAL]
Kyle,

Please advise as to the status of Google’s responses.

Regards, Marc

From: Marc B. Collier <marc.collier@nortonrosefulbright.com>
Sent: Sunday, April 14, 2024 11:28 AM
To: Chow, Kyle W <KChow@cov.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Patchen, Kate
<KPatchen@cov.com>
Cc: Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>;
Lee, Anne <alee@cov.com>; Larkin, Brigid <BLarkin@cov.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>; Gabriel Culver <gabriel.culver@nortonrosefulbright.com>; Ethan Glenn
<ethan.glenn@nortonrosefulbright.com>
Subject: RE: Subpoena issued to Meta Platforms, Inc.

Kyle,

We are trying to accommodate your request to put up a Meta witness on a date (a) you unilaterally selected and (b) in a
foreign country. As you may be aware, Judge Jordan has already ruled this Google/Meta/Facebook discovery to be
relevant and material. And we timely requested such Meta documents to be produced in advance of the deposition.

Your objections, as they stand, refuse to produce *any* documents without a meet-and-confer. Your requests for a
meet and confer after you send a letter “next week” leaves no time for a meaningful meet-and-confer before your
productions are due.

                                                           3
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Please advise if you will:

(1) send your “detailed response” by Wednesday, April 17;
(2) and will be prepared for a meaningful (i.e. you will know the scope range of relevant documents) meet and confer on
Thursday, April 18, at 8am CT/9AM ET.

We would like to continue the courtesies we have been extending to minimize the burden on Meta, but if we can’t get
timely cooperation by Meta, we will need to seek Court relief.

Regards,

Marc

From: Chow, Kyle W <KChow@cov.com>
Sent: Friday, April 12, 2024 5:12 PM
To: Marc B. Collier <marc.collier@nortonrosefulbright.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>;
Patchen, Kate <KPatchen@cov.com>
Cc: Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>;
Lee, Anne <alee@cov.com>; Larkin, Brigid <BLarkin@cov.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>
Subject: RE: Subpoena issued to Meta Platforms, Inc.

Hi Marc,

We have checked on Meta third-party production in the EDVA case, but we're still in the process of
investigating how those materials overlap with Texas's subpoena. We will follow up with a more detailed
response next week, after which we can find a time to meet and confer.

Best,
Kyle


From: Marc B. Collier <marc.collier@nortonrosefulbright.com>
Sent: Friday, April 12, 2024 5:53 PM
To: Chow, Kyle W <KChow@cov.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Patchen, Kate
<KPatchen@cov.com>
Cc: Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>;
Lee, Anne <alee@cov.com>; Larkin, Brigid <BLarkin@cov.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>
Subject: RE: Subpoena issued to Meta Platforms, Inc.

[EXTERNAL]
Kyle,

Received. When next week are you available to meet and confer regarding your objections? Also, you were checking on
whether Meta made third party productions in the DoJ case and whether that was available to be reproduced.

Thanks,

Marc



                                                           4
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From: Chow, Kyle W <KChow@cov.com>
Sent: Friday, April 12, 2024 4:44 PM
To: Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Patchen, Kate <KPatchen@cov.com>
Cc: Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>;
Lee, Anne <alee@cov.com>; Larkin, Brigid <BLarkin@cov.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>
Subject: RE: Subpoena issued to Meta Platforms, Inc.


[External Email – Use Caution]


Zeke,

Thank you for your response. Attached please find Meta's responses and objections to Texas's Subpoena to
Testify at a Deposition in a Civil Action dated March 29, 2024. We are providing these to you to supplement
our earlier objections, and within our 14-day deadline to respond to the subpoena under Fed. Rule of Civ. Pro.
45(d)(2)(B).

Meta continues to investigate Texas's requests and will follow up again next week.

Thanks,
Kyle


From: Zeke DeRose III <Zeke.DeRose@LanierLawFirm.com>
Sent: Friday, April 12, 2024 9:12 AM
To: Chow, Kyle W <KChow@cov.com>; Patchen, Kate <KPatchen@cov.com>
Cc: Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>;
Lee, Anne <alee@cov.com>; Larkin, Brigid <BLarkin@cov.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>
Subject: Re: Subpoena issued to Meta Platforms, Inc.

[EXTERNAL]
Kyle and team,

I know you are still working on alterative dates and witnesses, but in the interim we would like to hold
the May 2 date in London so our team can make plans and arrangements.

Can you let us know the name of the current witness?

Zeke
From: Zeke DeRose III <Zeke.DeRose@LanierLawFirm.com>
Date: Tuesday, April 9, 2024 at 10:40 AM
To: "Chow, Kyle W" <KChow@cov.com>, "Patchen, Kate" <KPatchen@cov.com>
Cc: "Alex J. Brown" <Alex.Brown@LanierLawFirm.com>, Jonathan Wilkerson
<Jonathan.Wilkerson@LanierLawFirm.com>, "Lee, Anne" <alee@cov.com>, "Larkin, Brigid"
<BLarkin@cov.com>
Subject: Re: Subpoena issued to Meta Platforms, Inc.

Thank you as well Kyle. We can confirm that Meta does not need to produce a witness next Monday on
April 15.



                                                        5
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We understand from our conversation that a Meta witness is only available on May 2 in London, that
there is not a witness available before May 2, and after May 2 the witness will be unavailable on parental
leave.

We appreciate Meta looking to see if there is a witness that can be available before May 2 in New York (or
a convenient location in the United States) or if there is another witness that can be available after May 2
that is not on parental leave.

We also understand that after we figure out a date and appropriate witness, Meta would like to discuss
the topics and noticed areas of documents and production.

Further, to help move the production of documents and reduce the burden on Meta, Meta is going to get
us information about its productions related to Google AdTech (whether related to the Texas
investigation, EDVA case/investigation, or elsewhere) so that the parties can understand the scope of
documents produced and determine if those documents have been produced to Texas or are still
outstanding. Taking this initial first step will help Meta and Texas determine what, if any, responsive
documents are outstanding. Once we understand the playing field, we can work together to find the path
of least resistance.

We look forward to hearing from Meta on witnesses and documents and working with your team. Please
let us know when to set the next call.

Zeke



From: "Chow, Kyle W" <KChow@cov.com>
Date: Tuesday, April 9, 2024 at 9:50 AM
To: Zeke DeRose III <Zeke.DeRose@LanierLawFirm.com>, "Patchen, Kate" <KPatchen@cov.com>
Cc: "Alex J. Brown" <Alex.Brown@LanierLawFirm.com>, Jonathan Wilkerson
<Jonathan.Wilkerson@LanierLawFirm.com>, "Lee, Anne" <alee@cov.com>, "Larkin, Brigid"
<BLarkin@cov.com>
Subject: RE: Subpoena issued to Meta Platforms, Inc.

Hi Zeke,

Thank you for the productive call yesterday. We appreciate your confirmation that Meta does not need to
produce a witness to testify next Monday (April 15).

Best,
Kyle


From: Zeke DeRose III <Zeke.DeRose@LanierLawFirm.com>
Sent: Monday, April 8, 2024 11:54 AM
To: Patchen, Kate <KPatchen@cov.com>
Cc: Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>;
Lee, Anne <alee@cov.com>; Chow, Kyle W <KChow@cov.com>; Larkin, Brigid <BLarkin@cov.com>
Subject: Re: Subpoena issued to Meta Platforms, Inc.

[EXTERNAL]
Does 1pm CT/2pm ET work? If so please send me an invite and I’ll get it to our folks. If not, please let me know what
times work today.

                                                            6
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  On Apr 8, 2024, at 7:36 AM, Patchen, Kate <KPatchen@cov.com> wrote:


  Hi Zeke,

  Thank you for your reply. It would be great if we could pick a time for a call so that I can include a
  couple other people on my end. Will 11 ET work? Let me know, and I will send an invite.

  Best,
  Kate



  From: Zeke DeRose III <Zeke.DeRose@LanierLawFirm.com>
  Sent: Sunday, April 7, 2024 10:56 PM
  To: Patchen, Kate <KPatchen@cov.com>; Mark Lanier <Mark.Lanier@LanierLawFirm.com>; Alex J.
  Brown <Alex.Brown@LanierLawFirm.com>; Jonathan Wilkerson
  <Jonathan.Wilkerson@LanierLawFirm.com>; Ryan D. Ellis <Ryan.Ellis@LanierLawFirm.com>
  Cc: Lee, Anne <alee@cov.com>; Chow, Kyle W <KChow@cov.com>; Larkin, Brigid <BLarkin@cov.com>
  Subject: Re: Subpoena issued to Meta Platforms, Inc.

  [EXTERNAL]
  Hi Kate thank you for your note. Mr. Lanier is in trial and we were in an all-day deposition
  of a Google employee on Friday in New York, so I apologize for not being able to connect. I
  will give you a call tomorrow morning (Monday) to discuss and will of course work with you
  regarding deposition dates and timing.

  My cell phone number is 512.940.6574.

  I hope you had a great weekend.

  Zeke



  Zeke DeRose III - Attorney p: 713-659-5200 w: www.LanierLawFirm.com


  From: "Patchen, Kate" <KPatchen@cov.com>
  Date: Sunday, April 7, 2024 at 7:55 PM
  To: Mark Lanier <Mark.Lanier@LanierLawFirm.com>, "Alex J. Brown"
  <Alex.Brown@LanierLawFirm.com>, Jonathan Wilkerson
  <Jonathan.Wilkerson@LanierLawFirm.com>, "Ryan D. Ellis" <Ryan.Ellis@LanierLawFirm.com>,
  Zeke DeRose III <Zeke.DeRose@LanierLawFirm.com>
  Cc: "Lee, Anne" <alee@cov.com>, "Chow, Kyle W" <KChow@cov.com>, "Larkin, Brigid"
  <BLarkin@cov.com>
  Subject: FW: Subpoena issued to Meta Platforms, Inc.

  Dear Mr. Lanier and team,



                                                        7
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  I write to follow up on my call to your office and letter on Friday, as I have not received a reply to my
  request. I am expanding the group receiving this request to your firm colleagues listed as representing
  the State of Texas on the docket in this matter.

  It is important that we talk with you, given that the deposition you noticed is scheduled to take place in
  just a week. Please let me know when you would be available for a call on Monday, or confirm by email
  that you agree to an extension of the deposition date.

  Best,
  Kate


  Kate Patchen
  Covington & Burling LLP
  Salesforce Tower, 415 Mission Street, Suite 5400
  San Francisco, CA 94105-2533
  T +1 415 591 6031 | kpatchen@cov.com
  www.cov.com

  <image001.png>


  From: Patchen, Kate
  Sent: Friday, April 5, 2024 3:08 PM
  To: 'Mark.lanier@lanierlawfirm.com' <Mark.lanier@lanierlawfirm.com>
  Cc: Lee, Anne <alee@cov.com>; Chow, Kyle W <KChow@cov.com>
  Subject: Subpoena issued to Meta Platforms, Inc.

            Mr. Lanier,

            Please see the attached correspondence. I understand you are out of the office today,
            but please let me know if you might be available on Monday for a meet and confer.

            Best,
            Kate


  Kate Patchen
  Covington & Burling LLP
  Salesforce Tower, 415 Mission Street, Suite 5400
  San Francisco, CA 94105-2533
  T +1 415 591 6031 | kpatchen@cov.com
  www.cov.com

  <image001.png>
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                                                                    8
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does not itself provide legal services to clients. Details of each entity, with certain regulatory information, are available at
nortonrosefulbright.com.




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